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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN


  TIMOTHY KING,MARIAN ELLEN SHERIDAN, JOHN EARL HAGGARD,
  CHARLES JAMES RITCHARD, JAMES DAVID HOOPER and DAREN WADE
  RUBINGH,

                             Plaintiffs.

                                           Case No. 20-cv-13134
                                           Hon. LINDA V. PARKER
  v.

  GRETCHEN WHITMER, in her official capacity as Governor of the State of Michigan,
  JOCELYN BENSON, in her official capacity as Michigan Secretary of State and the
  Michigan BOARD OFSTATE CANVASSERS.

                               Defendants.
  ________________________________________________/
  STEFANIE LYNN JUNTTILA
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                                              /

                                     NOTICE OF APPEAL

          NOW COMES the Plaintiffs TIMOTHY KING,MARIAN ELLEN
   SHERIDAN, JOHN EARL HAGGARD, CHARLES JAMES RITCHARD, JAMES
   DAVID HOOPER and DAREN WADE RUBINGH by and through their attorney,
   STEFANIE LYNN JUNTTILA, and hereby give NOTICE OF APPEAL of this
   Court’s 12/07/2020 R. 62 OPINION and ORDER Denying Plaintiffs' Emergency
   Motion for Declaratory, Emergency, and Permanent Injunctive Relief.
                                     Respectfully submitted,

                                     /s/ Stefanie Lynn Junttila
                                     STEFANIE LYNN JUNTTILA
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  Date: December 8, 2020             Email: attorneystefanielambert@gmail.com
